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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           CASE NO. 1:88-cr-01007-MP -AK

WILLIE BUD REED, JR,

       Defendant.

_____________________________/

                                           ORDER

       This matter is before the Court on Doc. 1381, Motion for Reconsideration of the Court’s

Order, Doc. 1380. Defendant asserts that the Court’s Order failed to comply with the Eleventh

Circuit’s mandate to address the merits of Defendant’s motions. Defendant is incorrect. The

Court’s Order addressed the merits of Defendant’s Motion for Relief from Judgment, Doc. 1323,

and Motion for Reconsideration, Doc. 1324.

       The Eleventh Circuit vacated the Court's dismissal for lack of subject matter jurisdiction

and remanded for determination of the merits of these motions. The Eleventh Circuit expressed

no opinion whatsoever as to the procedural or substantive merit of the motions. On remand, this

Court upheld it’s previous conclusion that Defendant’s Motion for Return of Property, Doc. 490,

was without merit. Furthermore the Court concluded that Defendant’s Motion for

Reconsideration, Doc. 1324, was untimely.

       As stated in the Court’s previous Order, Doc. 1380, no further motions related to these

issues will be considered. Accordingly, it is hereby
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        ORDERED AND ADJUDGED:

        1.       The Motion for Reconsideration, Doc. 1381, is DENIED.


        DONE AND ORDERED this           28th day of February, 2011


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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